

Myers v Invacare Corp. (2022 NY Slip Op 00547)





Myers v Invacare Corp.


2022 NY Slip Op 00547


Decided on January 28, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 28, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, WINSLOW, AND BANNISTER, JJ.


67 CA 20-01197

[*1]GARY MYERS AND CYNTHIA MYERS, PLAINTIFFS-RESPONDENTS,
vINVACARE CORPORATION, DEFENDANT, RELIANT PHARMACY CORP., RELIANT MEDICAL EQUIPMENT, THE MCGUIRE GROUP, INC., FRANCIS JAMES MCGUIRE, DOING BUSINESS AS RELIANT MEDICAL EQUIPMENT &amp; SUPPLY, DEFENDANTS-RESPONDENTS, KALEIDA HEALTH AND BUFFALO GENERAL HOSPITAL, DEFENDANTS-APPELLANTS. (APPEAL NO. 1.) 






GIBSON, MCASKILL &amp; CROSBY, LLP, BUFFALO (ROBERT D. BARONE OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
DOLCE FIRM, P.C., BUFFALO (ANNE M. WHEELER OF COUNSEL), FOR PLAINTIFFS-RESPONDENTS.
BARGNESI BRITT, PLLC, BUFFALO (JASON T. BRITT OF COUNSEL), FOR DEFENDANTS-RESPONDENTS.
MONACO COOPER LAMME &amp; CARR, PLLC, ALBANY (ADAM H. COOPER OF COUNSEL), FOR DEFENDANT.


	Appeal from an order of the Supreme Court, Erie County (Timothy J. Walker, A.J.), entered September 8, 2020. The order denied the motion of defendants-appellants for, among other things, summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on December 14, 2021,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: January 28, 2022
Ann Dillon Flynn
Clerk of the Court








